  From: amy.erickson@lathropgpm.com
Subject: RE: Records and documents still missing: following up on Court order
   Date: February 10, 2024 at 12:41 PM
     To: hollyataltitude hollyataltitude@protonmail.com
    Cc: Ashe Epp asheinamerica@proton.me, Courtney Hostetler chostetler@freespeechforpeople.org, brian.dillon@lathropgpm.com,
         Breese, Casey C. (LGPM) casey.breese@lathropgpm.com, Stock, Kristin (LGPM) kristin.stock@lathropgpm.com, Amira Mattar
         amira@freespeechforpeople.org



       Holly,

       I can’t stop you from filing a motion with the Court, but—again—the Court has already made clear to
       you that discovery is closed and will not be reopened, which does in fact mean that you cannot ask for
       additional documents. If you file a motion and force us to respond, the costs and attorney’s fees we
       incur in being forced to respond are additional fees we will seek to recoup from Defendants at trial in
       this matter.

       Amy



       Amy Erickson
       Associate
       Lathrop GPM LLP
       80 South 8th Street, 3100 IDS Center
       Minneapolis, MN 55402-3796
       Direct: 1.612.632.3470
       amy.erickson@lathropgpm.com
       lathropgpm.com




       From: hollyataltitude <hollyataltitude@protonmail.com>
       Sent: Wednesday, February 7, 2024 1:52 PM
       To: Erickson, Amy <amy.erickson@lathropgpm.com>
       Cc: Ashe Epp <asheinamerica@proton.me>; Courtney Hostetler
       <chostetler@freespeechforpeople.org>; Dillon, Brian A. <brian.dillon@lathropgpm.com>;
       Breese, Casey C. <casey.breese@lathropgpm.com>; Stock, Kristin
       <kristin.stock@lathropgpm.com>; Amira Mattar <amira@freespeechforpeople.org>
       Subject: RE: Records and documents still missing: following up on Court order

       Hi Amy,
       As I mentioned to the Court several times, there are evidentiary issues that needed to be
       resolved with both former counsel, and Plaintiffs' counsel.

       What I am requesting from Plaintiffs is not new information, and it was requested numerous
       times during discovery. The issue at hand is that Plaintiffs have not complied with discovery.
       While discovery has closed, that does not mean that documents and records that were required
       to be turned over, and have not been turned over fall outside the FRE and FRCP.

       The reason I provided all the citations in my original email is to highlight the fact that what I'm
       requesting objectively falls within the window of discovery.

       Best,
       Holly

       Sent with Proton Mail secure email.
On Tuesday, February 6th, 2024 at 7:14 PM, amy.erickson@lathropgpm.com
<amy.erickson@lathropgpm.com> wrote:


     Holly,

     At the last hearing, the Court denied your motion to reopen discovery and made clear
     that you were entitled to receive only the documents that had already been produced in
     the course of discovery in this matter, and nothing further. We believe that we have
     complied with our discovery obligations and, if you disagreed, the time to raise this issue
     was during the discovery period, which has long passed. Continuing to press these
     issues is only causing out clients to incur additional fees, which as stated in our
     Complaint, we are seeking to recover at trial in this matter.

     Thank you,


     Amy Erickson
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     From: hollyataltitude <hollyataltitude@protonmail.com>
     Sent: Monday, February 5, 2024 7:31 PM
     To: Erickson, Amy <amy.erickson@lathropgpm.com>
     Cc: Ashe Epp <asheinamerica@proton.me>
     Subject: Records and documents still missing: following up on Court order

     Hello Amy,

     Ashe and I have had a chance to review all the records the Court ordered to be
     turned over per the latest hearing.

     There is a batch of records pertaining to Plaintiffs damages claims that have not
     been turned over. Given each of the plaintiffs' orgs claimed diverting 20% of their
     resources, we still need the financial records from each organization that includes
     overall budget, financial allocations for the years of 2021, 2022, and 2023.
     Secondly, staff salaries, and time-sheet records for volunteers and staff. These
     records are material to the case and are necessary for the defense to properly
     prepare for trial.

     I gathered from my discussions with our former counsel that they have requested
     these records as well.

     Below are some examples of Plaintiffs claims stating they diverted resources. In
     many cases Plaintiffs stated the existence of, their knowledge of, and possession
     of financial records and documents. We expect to have these records turned
     over immediately per the Court order. These records are material to the case, are
     relevant to Plaintiffs damage claims, and our defense. Plaintiffs are required to
relevant to Plaintiffs damage claims, and our defense. Plaintiffs are required to
turn over these records under a number of FRCP and evidentiary rules.


   1. MFV: In Salvador Hernandez's deposition he mentions on page 42 he has
      MFV's civic engagement budget for 2022.
   2. MFV did not turn over any responsive documents, other than an
      interrogatory response. Was this an oversight? I expect that there are
      supporting records for their claims including time sheets for both volunteers
      and paid staff, and payroll records that also support the claims of diverting
      resources.
   3. LWV: Beth Hendrix, in her deposition on page 44 and 46 states the org had
      to divert a lot of time and resources. Hendrix's statement(s) are the
      backbone for the LWVs support for claim 3 in the pleading. As defendants
      we are owed LWVs records that substantiate the claim of diverting time,
      which would be time sheets, payroll records or other documentation that
      demonstrates LWV actually did divert the time Hendrix claimed in her
      deposition.
   4. LWV: Hendrix also stated in her depo that she diverted resources [from
      LWV activity]- which in this context insinuates budgetary resources. So, we
      are expecting there are time sheets for both paid staff and volunteers, plus a
      financial statement, budget, and/or P&L that need to be turned over
      substantiating the diversion of resources claim.
   5. LWV: Hendrix mentioned they were on a general database system that
      implied that database did tracking of staff & volunteers' time and the orgs
      finances. Given Hendrix mentions this database exists, we expect tracking
      records to exist, and to be turned over from that database.
   6. LWV: Hendrix's deposition P 94: Safety Plan doc 112, there is an
      accounting of 8 hours of Hendrix's time required to produce the "safety
      plan." To quantify the financial resources that were diverted Hendrix's salary
      information must be turned over.
         a. On the same topic - page 96 Hendrix states that additional time was
             diverted to the "ongoing campaign" that is a continuation of the
             diversion of resources claim, beyond just the creation of the safety
             plan. Documents supporting this claim are required to be sent over.
   7. LWV: page 100 of Hendrix's deposition, she mentioned around 75 emails
      had been turned over in discovery. We have not received anywhere near
      that number of emails. We expect to have additional emails turned over that
      appear to be missing.
   8. LWV: page 101 of Hendrix's deposition states that there were
      communications between NAACP and LWV. Per earlier statements in
      Hendrix's deposition she had apparently communicated with Rosemary Lytle
      and potentially Portia Prescott. We have not received those
      communications.
   9. LWV: page 101-105 there are documented LWV member complaints
      (numerous). Those have not been turned over, including specifically
      reports, dating back to as early as August 21, 2021.
  10. LWV: page 111 Hendrix's deposition: per Hendrix's sworn declaration, she
      claims LWV was "materially damaged", defendants have not received the
      financial documentation supporting this claim, we expect to have that
      documentation turned over.
      documentation turned over.
  11. NAACP: ref. Portia Prescott's Interrogatory #8 response submitted on
      October 21,2021: NAACP claims they diverted significant resources to
      digital media campaigns, social media communications, voter education
      programs, outreach programs, and volunteer recruitment activity.
      Defendants have not received any financial documentation that
      substantiates these claims. Defendants expect to receive a record of the
      execution of the programs listed (above), an accounting of the time spent to
      develop and execute these programs including budget disclosures that
      quantify the financial diversion of resources to support Plaintiffs 20%
      diversion of resources claim(s).
  12. NAACP: Prescott's deposition p.44. Financial documentation substantiating
      diversion of resources -- "thousands" [of dollars], and what portion of that
      budget was diverted because of USEIPs actions.
  13. NAACP: Prescott's deposition p. 84-86. Staff and volunteer timecards, and
      financial documentation, including invoices supporting Prescott's claim
      NAACP needed "companies or individuals to manage things", including
      financial documentation of "we did a lot of different things -- and that takes
      money, that takes time, that takes people." also included is "That takes
      branding. That takes a lot of money."
  14. LWV: Hendrix stated on p 65 of her deposition that she had turned over
      complaints regarding USEIP / defendants' activities from numerous
      members... Plaintiffs have not turned over these reports / and or records.

Again, I expect these existing records to be turned over in full by the end of the
week. If not, I will have to raise the issue with the Court.

Best,
Holly

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